      Case 2:05-cr-00121-DAE-RJJ            Document 655        Filed 01/05/07     Page 1 of 7



 1

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT

 7                                   DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA                         )
 9                                                    )        2:05-cr-00121-RCJ-(RJJ)
                            Plaintiff,                )
10                                                    )
             v.                                       )               ORDER
11                                                    )
     ALEXANDER LOGLIA, et al.;                        )
12                                                    )
                            Defendants.               )
13                                                    )

14
             This matter comes before the Court on the Government’s Motion in Limine to
15
     Preclude Defense Based Upon Payment in Gold & Silver. (#488.) The Court has considered
16
     the Motion, the pleadings on file, and oral arguments on behalf of the parties. IT IS
17
     HEREBY ORDERED that the Government’s Motion is granted in part and denied in part.
18
                                            BACKGROUND
19
            On May 29, 2003, Internal Revenue Service (“IRS”) agents executed search warrants
20
     at various business locations used by Defendant David Kahre (“Kahre”). As a result of that
21
     search, a federal grand jury returned an indictment against multiple individuals, including
22
     Kahre. The Government charged Kahre with two counts of attempting to Evade or Defeat Tax
23

24   in violation of 26 U.S.C. § 7201, and one count of Conspiracy to Attempt to Evade or Defeat

25   Tax. On April 4, 2006, the United States issued a superseding indictment charging Kahre
      Case 2:05-cr-00121-DAE-RJJ            Document 655       Filed 01/05/07      Page 2 of 7



 1   with additional counts and crimes. Defendant Alexander Loglia (“Loglia”) has also been

 2   charged in this case. Although Loglia’s and Kahre’s cases are on separate dockets (05-cr-
 3   00121 and 05-cr-00120), Loglia has filed a Notice of Joinder in Kahre’s opposition to the
 4
     Government’s currently pending motion in limine. The following chart summarizes the
 5
     counts against Loglia and Kahre (collectively “Defendants”):
 6

 7    Defendant                       Counts                          Charge
 8    Kahre                           1-2, 10-13                      26 USC § 7201 – Attempt to
                                                                      Evade or Defeat Tax
 9
                                      3                               18 USC § 371 – Conspiracy
10                                                                    to Attempt to Evade or
                                                                      Defeat Tax
11
                                      7
12                                                                    18 USC § 1343 – Wire
                                                                      Fraud
13    Loglia                          147-150, 152-156                26 USC § 7201 – Attempt
                                                                      to Evade or Defeat Tax
14

15                                    151                             26 USC § 7206(1) – Filing a
                                                                      False Tax Return
16
                                      187                             18 USC § 371 – Conspiracy
17                                                                    to Attempt to Evade or
                                                                      Defeat Tax
18
              The Government alleges that Kahre wilfully attempted to evade paying $524,374 in
19
     taxes by concealing and attempting to conceal assets from the IRS, and that Laglia wilfully
20

21   attempted to evade paying over $100,000 in taxes. The Government also claims that

22   Defendants failed to file tax returns for several years. Specifically, the Government argues

23   that Defendants used gold and silver coins to evade paying taxes. According to Defendants,

24

25                                             Page 2 of 7
          Case 2:05-cr-00121-DAE-RJJ         Document 655         Filed 01/05/07       Page 3 of 7



 1   they used the coins to conduct business in conjunction with their “boycott of the Federal

 2   Reserve System.” (#83, 2.) Defendants used these coins to transact all business.
 3   The coins’ fair market value exceeds their face value. Defendants paid and received wages in
 4
     gold and silver in exchange for goods and services. Based on the coins’ face value, the
 5
     compensation received is below the dollar threshold requirement to withhold and/or pay
 6
     income taxes. Defendants reported all income and transactions at the face value amount,
 7
     failing to report the difference as income, which reduced their respective tax liabilities. Ninth
 8
     Circuit precedent clearly requires a taxpayer to report the coins’ face value as income.
 9
     Although Defendants admit they used gold and silver coins to lower or reduce their tax
10
     liability, they argue that “using and contracting to use gold and silver coins at face value as a
11

12   medium of exchange is a lawful exercise of a statutory right.” Id. Defendants plan to argue at

13   trial that they were not guilty because they honestly thought they were entitled to report

14   income at the coins’ lower face value, and that the law supports such a belief.

15                                            DISCUSSION

16            The Government has filed a motion in limine asking the Court to preclude Defendants

17   from using any defense or evidence based upon a theory that using gold and silver coins
18   allows Defendants to report only the coins’ face value as income. For the reasons discussed
19
     below, the Court grants in part and denies in part the Government’s motion.
20
     I.       Defendants’ “Good Faith Belief”
21
              The Government asks the Court to exclude any “defense based upon payment in gold
22
     and silver” because the Ninth Circuit has repeatedly held that the amount realized in a
23
     transaction using gold and silver coins is the fair market value, and not the coins’ face value.
24

25                                              Page 3 of 7
      Case 2:05-cr-00121-DAE-RJJ               Document 655         Filed 01/05/07      Page 4 of 7



 1   See, e.g., Cordner v. United States, 671 F.2d 367, 368-69 (9th Cir. 1982) (holding that when

 2   gold coins have a fair market value in excess of face value, taxpayers must report income at
 3   the fair market value); see also Cal. Federal Life Ins. Co. v. Comm’r, 680 F.2d 85, 86-87 (9th
 4
     Cir. 1982) (same). Although the Government correctly argues that such income is taxable, to
 5
     convict Defendants for the crimes alleged, the Government must establish that Defendants
 6
     “willfully” failed to pay the required taxes. As discussed below, the Court will not allow
 7
     Defendants to present any arguments that the law allows them to exclude from income the
 8
     coins’ fair market values or to otherwise argue what the relevant tax law holds. Defendants
 9
     may only present a good faith defense that they believed they could report the income as they
10
     did for the limited purpose of negating the relevant mens rea requirement, but Defendants
11

12   cannot argue that their belief was actually correct.

13             A.     Willfulness

14             Tax evasion and failure to file tax returns require that the offender act “willfully.”

15   I.R.C. §§ 7201-07. The Government must establish willfulness to support a conviction under

16   26 U.S.C. § 7201. United States v. Bishop, 291 F.3d 1100, 1106 (9th Cir. 2002) (citing United

17   States v. Bishop, 412 U.S. 346, 361 (1973)). Willfulness is also an element of conspiracy to
18   defraud the United States. Id. (quoting United States v. Crooks, 804 F.2d 1441, 1448 (9th Cir.
19
     1986)).
20
               In Cheek v. United States, which involved a prosecution under sections 7201 and 7203,
21
     the Supreme Court held that “[w]illfulness, as construed by our prior decisions in criminal tax
22
     cases, requires the Government to prove that the law imposed a duty on the defendant, that the
23
     defendant knew of this duty, and that he voluntarily and intentionally violated that duty.” 498
24

25                                                Page 4 of 7
      Case 2:05-cr-00121-DAE-RJJ             Document 655         Filed 01/05/07       Page 5 of 7



 1   U.S. 192, 201 (1991)). Cheek also held that a taxpayer who violates the tax law based on

 2   good faith ignorance of the law or an erroneous belief that he was not violating the tax code
 3   does not act “willfully,” even if the taxpayer’s belief is objectively unreasonable:
 4
           [I]f the Government proves actual knowledge of the pertinent legal duty, the
 5         prosecution, without more, has satisfied the knowledge component of the
           willfulness requirement. But carrying this burden requires negating a defendant's
 6         claim of ignorance of the law or a claim that because of a misunderstanding of the
           law, he had a good-faith belief that he was not violating any of the provisions of
 7         the tax laws. This is so because one cannot be aware that the law imposes a duty
           upon him and yet be ignorant of it, misunderstand the law, or believe that the duty
 8         does not exist. In the end, the issue is whether, based on all the evidence, the
           Government has proved that the defendant was aware of the duty at issue, which
 9         cannot be true if the jury credits a good-faith misunderstanding and belief
           submission, whether or not the claimed belief or misunderstanding is objectively
10         reasonable.
11
     Id. at 202. Thus, after Cheek, a defendant can no longer be convicted of tax fraud if the fact-
12
     finder believes the defendant’s ignorance surrounding the tax law, even if the defendant’s
13
     beliefs are unreasonable. The Supreme Court further reasoned that ignorance to the law could
14
     be a defense in the criminal tax context “largely due to the complexity of the tax laws” where
15
     “[t]he proliferation of statutes and regulations has sometimes made it difficult for the average
16
     citizen to know and comprehend the extent of the duties and obligations imposed by the tax
17
     laws.” Id. at 199-200. However, although a defendant may raise a good faith belief or
18
     mistake defense to a jury, he may not argue that the income tax law is unconstitutional or that
19

20   the tax law supports his erroneous beliefs. Id. at 206. In Cheek the Supreme Court stated:

21   “We thus hold that in a case like this, a defendant's views about the validity of the tax statutes

22   are irrelevant to the issue of willfulness, need not be heard by the jury, and if they are, an

23   instruction to disregard them would be proper.” Id.

24

25                                              Page 5 of 7
      Case 2:05-cr-00121-DAE-RJJ             Document 655         Filed 01/05/07      Page 6 of 7



 1          In the present case, Defendants’ claims may not be objectively reasonable; nonetheless,

 2   pursuant to the above analysis, Defendants may argue that they violated the tax law based on a
 3   good faith ignorance of the law or an erroneous belief that the law did not require Defendants
 4
     to include as income the coins’ fair market value. However, because the law clearly holds that
 5
     the coins’ fair market value was reportable income, they cannot argue that the law did not
 6
     require them to report the difference between the coins’ face and fair market values or that the
 7
     tax law is somehow unconstitutional. Accordingly, the Court will not allow Defendants to
 8
     present any arguments that the law allows them to exclude from income the coins’ fair market
 9
     values or to otherwise argue what the relevant tax law holds. Defendants may only present a
10
     good faith defense that they believed they could report the income as they did for the limited
11

12   purpose of negating the relevant mens rea requirement, but Defendants cannot argue that their

13   belief was actually correct.

14                                           CONCLUSION

15           The Court will allow Defendants to introduce evidence that they used gold coins to

16   reduce taxes only to the extent such evidence relates to their good faith belief that they were

17   not violating the law. The Court will not allow Defendants to argue or present evidence that
18   their belief is legally correct or that Defendants had a legal right to exclude the coins’ value
19
     from income. The Government will have the opportunity to present evidence that Defendants’
20
     belief was not in good faith. The Government need not adduce direct proof of
21
     willfulness—the jury may infer intent from the defendants’ acts. United States v. Spinelli, 443
22
     F.2d 2, 2-3 (9th Cir. 1971) (citing Norwitt v. United States, 195 F.2d 127, 132-133 (9th Cir.
23

24

25                                              Page 6 of 7
      Case 2:05-cr-00121-DAE-RJJ            Document 655        Filed 01/05/07   Page 7 of 7



 1   1952)). Therefore, IT IS HEREBY ORDERED that the Government’s Motion in Limine

 2   (#488) is granted in part and denied in part.
 3

 4
            DATED this 5th day of January, 2007.
 5

 6

 7

 8

 9                                                                  ROBERT C. JONES
                                                             UNITED STATES DISTRICT JUDGE
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25                                             Page 7 of 7
